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Attorneys for Plaintiff
UNITED STATES OF AMERICA

UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, yo CR. ae ) f cl t | Ha
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PORN ae
Plaintiff, | PLEA AGREEMENT FOR DEFENDANT
AMIR FRIEDMAN

 

Vv.
AMIR FRIEDMAN,

Defendant.

 

1. This constitutes the plea agreement between AMIR FRIEDMAN
(“defendant”) and the United States Attorney’s Office for the Central
District of California (“the USAO”) in the investigation of
defendant's receipt of kickbacks and bribes from New Age
Pharmaceuticals, Inc. This agreement is limited to the USAO and
cannot bind any other federal, state, local, or foreign prosecuting,
enforcement, administrative, or regulatory authorities.

DEFENDANT’ S OBLIGATIONS

 

2. Defendant agrees to:
a. At the earliest opportunity requested by the USAO and

provided by the Court, appear and plead guilty to a single-count

 

 

 

 

 

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information in the form attached to this agreement as Exhibit A or a
substantially similar form (the “information”), which charges
defendant with conspiracy to commit honest services mail and wire
fraud and interstate travel in aid of bribery, in violation of 18
U.S.C. § 371.

b. Not contest facts agreed to in this agreement.

c. Abide by all agreements regarding sentencing contained
in this agreement.

d. Appear for all court appearances, surrender as ordered
for service of sentence, obey all conditions of any bond, and obey
any other ongoing court order in this matter.

e. Not commit any crime; however, offenses that would be
excluded for sentencing purposes under United States Sentencing
Guidelines ("U.S.S.G.” or “Sentencing Guidelines”) § 4A1.2(c) are not
within the scope of this agreement.

f. Be truthful at all times with the United States
Probation and Pretrial Services Office and the Court.

g. Pay the applicable special assessment at or before the
time of sentencing unless defendant lacks the ability to pay and
prior to sentencing submits a completed financial statement on a form
to be provided by the USAO.

3. Defendant further agrees:

a. To forfeit personally and on behalf of any Defendant
Entity (defined as any entity in which defendant has held an
ownership interest; in which defendant has served as an officer,
director, manager, partner, trustee or other representative; or over
which defendant has had the ability, whether through position or
formal or informal agreement, to exercise control), all right, title,

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and interest in and to any and all monies, properties, and/or assets
of any kind, derived from or acquired as a result of, or used to
facilitate the commission of, or involved in the illegal activity to
which defendant is pleading guilty (the “Forfeitable Assets”).

b. To the Court’s entry of an order of forfeiture at or
before sentencing with respect to the Forfeitable Assets and to the
forfeiture of the assets. '

Cc. To take whatever steps are necessary to pass to the
United States clear title to the Forfeitable Assets, including,
without limitation, the execution of a consent decree of forfeiture
and the completing of any other legal documents required for the
transfer of title to the United States.

d. Not to contest any administrative forfeiture
proceedings or civil judicial proceedings commenced against the
Forfeitable Assets. If defendant submitted a claim and/or petition
for remission for all or part of the Forfeitable Assets on behalf of
himself or any other individual or entity, defendant shall and hereby
does withdraw any such claims or petitions, and further agrees to
waive any right he may have to seek remission or mitigation of the
forfeiture of the Forfeitable Assets.

e. Not to assist any other individual in any effort
falsely to contest the forfeiture of the Forfeitable Assets.

f. Not to claim that reasonable cause to seize the
Forfeitable Assets was lacking.

g. To prevent the transfer, sale, destruction, or loss of
any and all assets described above to the extent defendant has the

ability to do so.

 

 

 
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h. To fill out and deliver to the USAO a completed
financial statement listing defendant’ s assets on a form provided by
the USAO.

i. That forfeiture of Forfeitable Assets shall not be
counted toward satisfaction of any special assessment, fine,
restitution, costs, or other penalty the Court may impose.

5. To the entry as part of defendant’s guilty plea of a
money judgment of forfeiture against defendant and any Defendant
Entity in the amount of $788,140, which sum defendant admits
defendant obtained, received and possessed as a result of his
violation of 18 U.S.c. § 371, as charged’ in the information, and
which judgment defendant agrees can be enforced against assets owned
by defendant.

k. Defendant further agrees, should the USAO in its sole
discretion instruct defendant in writing to do so, to make the
payments set forth above via wire transfer, rather than by delivery
of a cashier’s check, to an account designated in writing by the
USAO.

i. Defendant understands that the money judgment of
forfeiture is part of defendant’s sentence, and is separate from any
fines or restitution that may be imposed by the Court. However, 1£
the Money Laundering and Asset Recovery Section (“MLARS”) of the
Department of Justice grants any petition for remission submitted by
a victim of defendant’s illegal activities as set forth in the
information attached to this agreement as Exhibit A, then the USAO
will not object to defendant receiving a credit towards payment of
restitution in the amount actually paid to the victim pursuant to
MLARS’ grant of the petition for remission.

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m. | With respect to any criminal forfeiture ordered as a
result of this plea agreement, defendant waives the requirements of
Federal Rules of Criminal Procedure 32.2 and 43(a) regarding notice
of the forfeiture in the charging instrument, announcements of the
forfeiture sentencing, and incorporation of the forfeiture in the
judgment. Defendant acknowledges that forfeiture of the assets is
part of the sentence that may be imposed in this case and waives any
failure by the Court to advise defendant of this, pursuant to Federal
Rule of Criminal Procedure 11(b) (1) (d),. at the time the Court accepts
defendant’s guilty plea. .

4. Defendant further agrees to cooperate fully with the USAO,
the Federal Bureau of Investigation, United States Postal Service -
Office of Inspector General, and, as directed by the USAO, any other
federal, state, local, or foreign prosecuting, enforcement,
administrative, or regulatory authority. This cooperation requires
defendant to:

a. Respond truthfully and completely to all questions
that may be put to defendant, whether in interviews, before a grand
jury, or at any trial or other court proceeding.

b. Attend all meetings, grand jury sessions, trials or’
other proceedings at which defendant’s presence is requested by the
USAO or compelled by subpoena or court order. |

Cc. Produce voluntarily all documents, records, or other
tangible evidence relating to matters about which the USAO, or its
designee, inquires.

da. If requested to do so by the USAO, act in an
undercover capacity to the best of defendant’s ability in connection
with criminal investigations by federal, state, local, or foreign law

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enforcement authorities, in accordance with the express instructions
of those law enforcement authorities. Defendant agrees not to act in
an undercover capacity, tape record any conversations, or gather any
evidence except after a request by the USAO and in accordance with
express instructions of federal, state, local, or foreign law
enforcement authorities.

5. For purposes of this agreement: (1) “Cooperation
Information” shall mean any statements made, or documents, records,
tangible evidence, or other information provided, by defendant .
pursuant to defendant’s cooperation under this agreement or pursuant
to the letter agreement previously entered into by the parties dated
October 31, 2018 (the “Letter Agreement”); and (2) “Plea Information”
shall mean any statements made by defendant, under oath, at the
guilty plea hearing and the agreed to factual basis statement in this
agreement.

THE USAO'S OBLIGATIONS

 

6. The USAO agrees to:

a. Not contest facts agreed to in this agreement.

b. Abide by all agreements regarding sentencing contained.
in this agreement.

Cc. Except for criminal tax violations (including
conspiracy to commit such violations chargeable under 18 U.S.C.
§ 371), not further criminally prosecute defendant for violations of
18 U.S.C. $§ 371, 1341, 1343, 1347, 1349, 1952, 1956, and 1957, and
42 U.S.C. § 1320a-7b(b), arising out of defendant’s conduct
described in the agreed-to factual set forth in paragraph 17 below.
Defendant understands that the USAO is free to criminally prosecute
defendant for any other unlawful past conduct or any unlawful conduct

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that occurs after the date of this agreement. Defendant agrees that
at the time of sentencing the Court may consider the uncharged
conduct in determining the applicable Sentencing Guidelines range,
the propriety and extent of any departure from that range, and the
sentence to be imposed after consideration of the Sentencing
Guidelines and ail other relevant factors under 18 U.S.C. § 3553(a).

d. At the time of sentencing, provided that defendant
demonstrates an acceptance of responsibility for the offense up to
and including the time of sentencing, recommend a two-level reduction
in the applicable Sentencing Guidelines offense level, pursuant to
U.S.S.G. § 3R1.1, and recommend and, if necessary, move for an
additional one-level reduction if available under that section.

7. The USAO further agrees:

a. Not to offer as evidence in its case-in-chief in the
above-captioned case or any other criminal prosecution that may be
brought against defendant by the USAO, or in connection with any
sentencing proceeding in any criminal case that may be brought
against defendant by the USAO, any Cooperation Information.

Defendant agrees, however, that the USAO may use both Cooperation
Information and Plea Information: (1) to obtain and pursue leads to
other evidence, which evidence may be used for any purpose, including
any criminal prosecution of defendant; (2) to cross-examine defendant
should defendant testify, or to rebut any evidence offered, or
argument or representation made, by defendant, defendant’s counsel,
or a witness called by defendant in any trial, sentencing hearing, or
other court proceeding; and (3) in any criminal prosecution of

defendant for false statement, obstruction of justice, or perjury.

 

 
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b. Not to use Cooperation Information against defendant
at sentencing for the purpose of determining the applicable guideline
range, including the appropriateness of an upward departure, or the
sentence to be imposed, and to recommend to the Court that
Cooperation Information not be used in determining the applicable
guideline range or the sentence to be imposed. Defendant
understands, however, that Cooperation Information will be disclosed
to the United States Probation and Pretrial Services Office and the
Court, and that the Court may use Cooperation Information for the
purposes set forth in U.S.5.G § 1B1.8 (b) and for determining the
sentence to be imposed. | .

Cc. In connection with defendant's sentencing, to bring to
the Court's attention the nature and extent of defendant’s
cooperation. .

d. If the USAO determines, in its exclusive judgment,
that defendant has both complied with defendant’s obligations under
paragraphs 2 and 4 above and provided substantial assistance to law
enforcement in the prosecution or investigation of another
(“substantial assistance”), to move the Court pursuant to U.S.S.G.

§ 5Kl.1 to fix an offense level and corresponding guideline range
below that otherwise dictated by the sentencing guidelines, and to
recommend a term of imprisonment within this reduced range.
DEFENDANT’ S UNDERSTANDINGS REGARDING CO OPERATION
8. Defendant understands the following:

a. Any knowingly false or misleading statement by
defendant will subject defendant to prosecution for false statement,
obstruction of justice, and perjury and will constitute a breach by

defendant of this agreement.

 
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be Nothing in this agreement requires the USAO or any
other prosecuting, enforcement, administrative, or regulatory
authority to accept any cooperation or assistance that defendant may
offer, or to use it in any particular way.

c. Defendant cannot withdraw defendant’s guilty plea if
the USAO does not make a motion pursuant to U.S.S.G. § 5K1.1 for a
reduced guideline range or if the USAO makes such a motion and the
Court does not grant it or if the Court grants such a USAO motion but
elects to sentence above the reduced range.

d. At this time the USAO makes no agreement or
representation as to whether any cooperation that defendant has
provided or intends to provide constitutes or will constitute
substantial assistance. The decision whether defendant has provided
substantial assistance will rest solely within the exclusive judgment
of the USAO.

e, The USAO’s determination whether defendant has
provided substantial assistance will not depend in any way on whether
the government prevails at any trial or court hearing in which
defendant testifies or in which the government otherwise presents
information resulting from defendant’s cooperation.

NATURE OF THE OFFENSE

 

9. Defendant understands that for defendant to be guilty of
the crime charged in the information, that is, conspiracy, in
violation of Title 18, United States Code, Section 371, the following
must be true: (1) between in or about at least August 2013 and in or
about at least May 2015, there was an agreement between two or more
persons to commit at least one object of the conspiracy as charged in
the information; (2) the defendant became a member of the conspiracy

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knowing of at least one of its objects and intending to help
accomplish it; and (3) one of the members of the conspiracy performed
at least one overt act for the purpose of carrying out the
conspiracy..

10. Defendant understands that Honest Services Mail and Wire
Fraud, in violation of Title 18, United States Code, Sections 1341
and 1346, and 1343 and 1346, respectively, each an object of the
conspiracy charged in the information, have the following elements:
(1) the defendant devised or participated in a scheme or plan to
deprive a patient of his or her right to honest services; (2) the
scheme or plan included payments of kickbacks and bribes to medical
professionals in exchange for medical services or items; (3) the
medical professionals owed a fiduciary duty to the patients; (4) the
defendant acted with the intent to defraud by depriving the patient s
of their right of honest services of the medical professionals;

(5) the defendant’s act was material, that is, it had a natural
tendency to influence, or was capable of influencing, a patient’s
acts; and (6) the defendant used, or caused someone to use, the mails
(in the case of Honest Services Mail Fraud) and a wire communication
(in the case of Honest Services Wire Fraud) to carry out or attempt
to carry out the scheme or plan.

‘11. Defendant understands that Interstate Travel in Aid of
Bribery, in violation of Title 18, United States Code, Section
1952 (a) (3), one of the objects of the conspiracy charged in the
information, has the following elements: (1) defendant used the mail
or a facility of interstate commerce, (2) with the intent to promote,
manage, establish, or carry on, or facilitate the promotion,
management, establishment, or carrying on, of unlawful activity,

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specifically bribery in violation of California law, including
California Business & professions Code § 650 and California Insurance
Code § 750; and (3) after doing so, defendant performed or attempted
to perform an act to promote, manage, establish, or carry on, or
facilitate the promotion, management, establishment, or carrying on, —
of such unlawful activity.

PENALTIES AND RESTITUTION

12. Defendant understands that the statutory maximum sentence
that the Court can impose for a violation of Title 18, United States
Code, Section 371, as charged in count one of the Information, is:
five years’ imprisonment, a three-year period of supervised release;
a fine of $250,000 or twice the gross gain or gross loss resulting
from the offense, whichever is greater; and a mandatory special
assessment of $100.

13. Defendant understands that defendant will be required to
pay full restitution to the victims of the offense to which defendant
is pleading guilty. Defendant agrees that, in return for the USAO’s
compliance with its obligations under this agreement, the Court may
order restitution to persons other than the victims of the offense to
which defendant is pleading guilty and in amounts greater than those
alleged in the count to which defendant is pleading guilty. In
particular, defendant agrees that the Court may order restitution to
any victim of any of the following for any losses suffered by that
victim as a result: (a) any relevant conduct, as defined in U.S.S.G.
§ 1B1.3, in connection with the offenses to which defendant is
pleading guilty; and (b) any charges not prosecuted pursuant to this
agreement as well as all relevant conduct, as defined in U.S.S.G.

§ 1B1.3, in connection with those charges.

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14. Defendant understands that supervised release is a period
of time following imprisonment during which defendant will be subject
to various restrictions and requirements. Defendant understands that
if defendant violates one or more of the conditions of any supervised

release imposed, defendant may be returned to prison for all or part

-of the term of supervised release authorized by statute for the

offense that resulted in the term of supervised release, which could
result in defendant serving a total term of imprisonment greater than
the statutory maximum stated above.

15. Defendant understands that, by pleading guilty, defendant
may be giving up valuable government benefits and valuable civic
rights, such as the right to vote, the right to possess a firearm,
the right to hold office, and the right to serve on a jury.
Defendant understands that once the Court accepts defendant’s guilty
plea, it will be a federal felony for defendant to possess a firearm
or ammunition. Defendant understands that the conviction in this
case may also subject defendant to various other collateral
consequences, including but not limited to revocation of probation,
parole, or supervised release in another case and suspension or
revocation of a professional license. Defendant understands that
unanticipated collateral consequences will not serve as grounds to
withdraw defendant’s guilty plea.

16. Défendant understands that, if defendant is not a United
States citizen, the felony conviction in this case may subject
defendant to: removal, also known as deportation, which may, under
some circumstances, be mandatory; denial of citizenship; and denial
of admission to the United States in the future. The Court cannot,
and defendant's attorney also may not be able to, advise defendant

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fully regarding the immigration consequences of the felony conviction
in this case. Defendant understands that unexpected immigration
consequences will not serve as grounds to withdraw defendant’s guilty
plea.
FACTUAL BASIS

17. Defendant admits that defendant is, in fact, guilty of the
offense to which defendant is agreeing to plead guilty. Defendant
and the USAO agree to the statement of facts provided below and agree
that this statement of facts is sufficient to support a plea of
guilty to the charge described in this agreement and to establish the.
Sentencing Guidelines factors set forth in paragraph 19 below but is
not meant to be a complete recitation of all facts relevant to the
underlying criminal conduct or all facts known to either party that
relate to that conduct.

Relevant Entities and Individuals

 

Defendant was an anesthesiologist licensed in California, who
owed a fiduciary duty to his patients to act in their best interests,
and not for his own professional, pecuniary, or personal gain.
Defendant violated his fiduciary duty to patients by accepting
kickbacks and bribes for writing prescriptions for compounded drugs
for his patients.

Pharmacy Owner A (“Pharmacy Owner A”), along with other un-
indicted conspirators, owned and operated several compounding
pharmacies, including New Age Pharmaceuticals, Inc. (“New Age”),
located in Beverly Hills, California, within the Central District of
California. New Age was reimbursed by insurance companies under the
California Workers’ Compensation System, among other health care
benefit programs, for dispensing prescription drugs and other

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pharmaceuticals, including Xcustom” over-the-counter drugs, such as
Terocin, which was a pain relief product for minor aches and pains of
muscles and joints.

Marketer A (“Marketer A”) was a marketer, based in California,

who, through Marketing Entity A, was paid commissions for

facilitating the referral of prescriptions for compounded drugs and

other pharmaceuticals such as Terocin.

The Kickback and Bribe Arrangement

No later than approximately August 2013, and continuing through
approximately May 2015, in Los Angeles County, within the Central
District of California, and elsewhere, defendant, Pharmacy Owner A,
and Marketer A, conspired to commit honest services mail and wire
fraud and Travel Act violations.

As part of the conspiracy, Marketer A provided pre-printed
prescription pads for compounded drugs to defendant and offered
defendant kickbacks and bribes for each such prescription he
authorized (the “Kickback-Tainted Prescriptions”). Influenced by the
promise of kickbacks and bribes, defendant authorized the Kickback-
Tainted Prescriptions for dispensing at New Age, among other
pharmacies. After processing the Kickback-Tainted Prescriptions, New
Age dispensed the compounded drugs, billed insurance companies for
reimbursement, and shipped the compounded drugs to patients through
the mail.

KnowLledge/Willfulness

 

Defendant and his co-conspirators knew that the payment of
kickbacks and bribes for the referral of prescriptions for compounded
drugs was illegal. Defendant further understood that, had he stopped
authorizing prescription referrals for New Age, Marketer A would

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cease making payments for the benefit of defendant. In accepting the
kickbacks and bribes, defendant intended to defraud the patients for
whom he referred prescriptions to New Age by depriving them of his
honest services. The use of interstate wires and mailings to execute
essential parts of the scheme was foreseeable to defendant and his
co-conspirators. Moreover, interstate wires and mailings were, in
fact, used to execute essential parts of the scheme and to distribute
the proceeds of, and promote, manage, establish, carry on, and
facilitate the promotion, management, establishment, and carrying out
of unlawful activity, specifically the payment and receipt of
kickbacks and bribes, in violation of California Business &
Professions Code Section 650(a) and California Insurance Code Section
750 (a).

Defendant was also aware that the compounded drugs he prescribed
were far more expensive than the FDA-approved drug equivalents that
were otherwise available. Defendant understood that the payment of
kickbacks and bribes for the referral of prescriptions for compounded
drugs was material to both patients and health care benefit programs
to. which New Age submitted claims for Kickback Tainted Prescriptions.
In other words, defendant knew that these patients and programs would
have wanted to know that defendant was receiving kickbacks and bribes
in connection with prescribing compounded drugs for dispensing at New
Age.

Overt Acts

In furtherance of the conspiracy and to accomplish its objects,
defendant and his co-conspirators committed various overt acts within
the Central District of California, and elsewhere, specifically
including, on or about March 27, 2015, defendant caused Marketer A to

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issue check number 1110, drawn on Marketing Entity A’s Bank of

America account ending in 0636, in the amount of $40,000, to

defendant in exchange for Kickback-Tainted Prescriptions.
Effects of the Conspiracy

All told, the conspiracy resulted in financial gains to

defendant of approximately $788,140 -- a sum he received in the form

of approximately 28 check payments that represented the proceeds of
honest services mail and wire fraud and Travel Act violations.
SENTENCING FACTORS
18. Defendant understands that in determining defendant’s
sentence the Court is required to calculate the applicable Sentencing
Guidelines range and to consider that range, possible departures

under the Sentencing Guidelines, and the other sentencing factors set

forth in 18 U.S.C. § 3553(a). Defendant understands that the

Sentencing Guidelines are advisory only, that defendant cannot have
any expectation of receiving a sentence within the calculated
Sentencing Guidelines range, and that after considering the
Sentencing Guidelines and the other § 3553(a) factors, the Court will
be free to exercise its discretion to impose any sentence it finds
appropriate up to the maximum set by statute for the crime of
conviction.

19, Defendant and the USAO agree to the following applicable
Sentencing Guidelines factors:
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Base Offense Level: gi [U.S.S.G. §§ 2X1.1(a), 2E1.2,

2B4.1]
Loss greater than $550K: +14 [U.S.S.G. § 2B1.1(b) (1) (4)]
Abuse of Position of Trust: +2 [U.S.S.G. § 3B1.3]
Acceptance of Responsibility -3 [U.S.S.G. § 3E1.1]
Total Offense Level: 21

 

 

 

The USAO will agree to a two-level downward adjustment for acceptance
of responsibility (and, if applicable, move for an additional one-
level downward adjustment under U.S.S.G. § 3E1.1{b)}) only if the
conditions set forth in paragraph 6(d) are met and if defendant has
not committed, and refrains from committing, acts constituting
obstruction of justice within the meaning of U.S.5S.G. § 3C1.1, as
discussed below. Subject to paragraphs 7(d) above and 35 below,
defendant and the USAO agree not to seek or argue, either orally or
in writing, that any other specific offense characteristics,
adjustments, or departures relating to the offense level be imposed.
Defendant agrees, however, that if, after signing this agreement but
prior to sentencing, defendant were to commit an act, or the USAO
were to discover a previously undiscovered act.committed by defendant
prior to signing this agreement, which act, in the judgment of the |
USAO, constituted obstruction of justice within the meaning of
U.S.S.G. § 3C1.1, the USAO would be free to seek the enhancement set
forth in that section and to argue that defendant is not entitled to
a downward adjustment for acceptance of responsibility under U.S.S.G.
§ 3H1.1.

20. Defendant understands that there is no agreement as to

defendant’s criminal history or criminal history category.

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21. Defendant and the USAO reserve the right to argue for a
sentence outside the sentencing range established by the Sentencing
Guidelines based on the factors set forth in 18 U.S.C. § 3553(a) (1),
(a) (2), (a) (3), (a) (6), and (a) (7) . |

WAIVER OF CONSTITUTIONAL RIGHTS

22. Defendant understands that by pleading guilty, defendant
gives up the following rights:

a. The right to persist in a plea of not guilty.

b. The right to a speedy and public trial by jury.

Cc. The right to be represented by counsel - and if
necessary have the court appoint counsel’ - at trial. Defendant |
understands, however, that, defendant retains the right to be
represented by counsel - and if necessary have the court appoint
counsel — at every other stage of the proceeding.

d. The right to be presumed innocent and to have the
burden of proof placed on the government to prove defendant guilty
beyond a reasonable doubt.

e. The right to confront and cross-examine witnesses
against: defendant. .

£. The right to testify and to present evidence in
opposition to the charges, including the right to compel the
attendance of witnesses to testify.

g. The right not to be compelled to testify, and, if
defendant chose not to testify or present evidence, to have that
choice not be used against defendant.

h. Any and all rights to pursue any affirmative defenses,
Fourth Amendment or Fifth Amendment claims, and other pretrial
motions that have been filed or could be filed.

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WAIVER OF VENUE
23, Having been fully advised by defendant’s attorney regarding
the requirements of venue with respect to the offense to which
defendant is pleading guilty, to the extent the offense to which
defendant is pleading guilty was committed, begun, or completed

outside the Central District of California, defendant knowingly,

‘yoluntarily, and intelligently waives, relinquishes, and gives up:

(a) any right that defendant might have to be prosecuted only in the
district where the offense to which defendant is pleading guilty were
committed, begun, or completed; and (b) any defense, clain, or
argument defendant could raise or assert based upon lack of venue

with respect to the offense to which defendant is pleading guilty.

 

WAIVER OF STATUTE OF LIMITATIONS

24. Having been fully advised by defendant’ s attorney regarding
application of the statute of limitations to the offense to which
defendant is pleading guilty, defendant hereby knowingly,
voluntarily, and intelligently waives, relinquishes, and gives up:
(a) any right that defendant might have not to be prosecuted for the
offense to which defendant is pleading guilty because of the
expiration of the statute of limitations for the offense prior to the
filing of the information alleging the offense; and (b) any defense,
claim, or argument defendant could raise or assert that prosecution
of the offense to which defendant is pleading guilty is barred by the
expiration of the applicable statute of limitations, pre -indictment
delay, or any speedy trial violation.

WAIVER OF APPEAL OF CONVICTION

 

25. Defendant understands that, with the exception of an
appeal based on a claim that defendant’s guilty plea was involuntary,

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by pleading guilty defendant is waiving and giving up any right to
appeal defendant’s conviction on the offense to which defendant is
pleading guilty. Defendant understands that this waiver includes,
but is not limited to, arguments that the conspiracy statute to which
defendant is pleading guilty, or the underling objects of the charged
conspiracy are unconstitutional, and any and all claims that the
statement of facts provided herein is insufficient to support
defendant’s plea of guilty.

LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE

26. Defendant agrees that, provided the Court imposes a term of
imprisonment within the total statutory maximum, defendant gives up
the right to appeal all of the following: (a) the procedures and
calculations used to determine and impose any portion of the
sentence; (b) the term of imprisonment imposed by the Court; {c) the
fine imposed by the Court, provided it is within the statutory
maximum; (d) the amount and terms of any restitution order; (e) the
term of probation or supervised release imposed by the Court,
provided it is within the statutory maximum; and (f) any of the
following conditions of probation or supervised release imposed by
the Court: the conditions set forth in General Order 18-10 of this
Court; the drug testing conditions mandated by 18 U.S.C.

§§ 3563(a) (5) and 3583(d); and the alcohol and drug use conditions
authorized by 18 U.S.C. § 3563(b) (7).

27. Defendant also gives up any right to bring a post -
conviction collateral attack on the conviction or sentence, including
any order of restitution, except a post-conviction collateral attack
based on a claim of ineffective assistance of counsel, a claim of
newly discovered evidence, or an explicitly retroactive change in the

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applicable Sentencing Guidelines, sentencing statutes, or statutes of
conviction. Defendant understands that this waiver includes, but is
not limited to, arguments that the either the conspiracy statute or
the statutes underlying the objects of the conspiracy to which
defendant is pleading guilty are unconstitutional, and any and all
claims that the statement of facts provided herein is insufficient to
support defendant’s plea of guilty.

28. This agreement does not affect in any way the right of the
USAO to appeal the sentence imposed by the Court.

RESULT OF WITHDRAWAL OF GUILTY PLEA

29. Defendant agrees that if, after entering a guilty plea
pursuant to this agreement, defendant seeks to withdraw and succeeds
in withdrawing defendant’s guilty plea on any basis other than a
claim and finding that entry into this plea agreement was
involuntary, then (a) the USAO will be relieved of all of its
obligations under this agreement, including in particular its
obligations regarding the use of Cooperation Information; (b) in any
investigation, criminal prosecution, or civil, administrative, or
regulatory action, defendant agrees that any Cooperation Information
and any evidence derived from any Cooperation Information shall be
admissible against defendant, and defendant will not assert, and
hereby waives and gives up, any claim under the United States
Constitution, any statute, or any federal rule, that any Cooperation

Information or any evidence derived from any Cooperation Information

should be suppressed or is inadmissible; and (c) should the USAO

choose to pursue any charge that was not filed as a result of this
agreement, then (i) any applicable statute of limitations wili be
tolled between the date of defendant’s signing of this agreement and

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the filing commencing any such action; and (ii) defendant waives and
gives up all defenses based on the statute of limitations, any claim
of pre-indictment delay, or any speedy trial claim with respect to
any such action, except to the extent that such defenses existed as
of the date of defendant’s signing this agreement.
RESULT OF VACATUR, REVERSAL OR SET -ASIDE

30. Defendant agrees that if the count of conviction is
vacated, reversed, or set aside, both the USAO and defendant will be
released from all their obligations under this agreement.

EFFECTIVE DATE OF AGREEMENT

31. This agreement is effective upon signature and execution of
all required certifications by defendant, defendant’s counsel, and an
Assistant United States Attorney.

BREACH OF AGREEMENT

 

32. Defendant agrees that if defendant, at any time after the
effective date of this agreement, knowingly violates or fails to
perform any of defendant’s obligations under this agreement (“a
breach”), the USAO may declare this agreement breached. For example,
if defendant knowingly, in. an interview, before a grand: jury, or at
trial, falsely accuses another person of criminal conduct or falsely
minimizes defendant’s own role, or the role of another, in criminal
conduct, defendant will have breached this agreement. All of
defendant’s obligations are material, a single breach of this
agreement is sufficient for the USAO to declare a breach, and
defendant shall not be deemed to have cured a breach without the
express agreement of the USAO in writing. If the USAO declares this
agreement breached, and the Court finds such a breach to have

occurred, then:

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a. If defendant has previously entered a guilty plea
pursuant to this agreement, defendant will not be able to withdraw
the guilty plea.

b. The USAO will be relieved of all, its obligations under

this agreement; in particular, the USAO: (1) will no longer be bound
by any agreements concerning sentencing and will be free to seek any
sentence up to the statutory maximum for the crime to which defendant
has pleaded guilty; and (ii1} will no longer be bound by any agreement
regarding the use of Cooperation Information and will be free to use
any Cooperation Information in any way in any investigation, criminal
prosecution, or civil, administrative, or regulatory action.

Cc. The USAO will be free to criminally prosecute
defendant for false statement, obstruction of justice, and perjury
based on any knowingly false or misleading statement by defendant.

d. In any investigation, criminal prosecution, or civil,
administrative, or regulatory action: (i) defendant will not assert,
and hereby waives and gives up, any claim that any Cooperation
Information was obtained in violation of the Fifth Amendment
privilege against compelled self-incrimination; and (ii). defendant
agrees that any Cooperation Information and any Plea Information, as
well as any evidence derived from any Cooperation Information or any
Plea Information, shall be admissible against defendant, and
defendant will not assert, and hereby waives and gives up, any claim
under the United States Constitution, any statute, Rule 410 of the
Federal Rules of Evidence, Rule 11(£) of the Federal Rules of
Criminal Procedure, or any other federal rule, that any Cooperation

Information, any Plea Information, or any evidence derived from any

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Cooperation Information or any Plea Information should be suppressed
or is inadmissible. .

33, Following the Court’s finding of a knowing breach of this
agreement by defendant, should the USAO choose to pursue any charge
that was not filed as a result of this agreement, then:

a. Defendant agrees that any applicable statute of
limitations is tolled between the date of defendant’s signing of this
agreement and the filing commencing any such action. |

b. Defendant waives and gives up all defenses based on
the statute of limitations, any claim of pre-indictment delay, or any
speedy trial claim with respect to any such action, except to the
extent that such defenses existed as of the date of defendant’ s
signing this agreement.

COURT AND UNITED STATES PROBATION AND PRETRIAL SERVICES
OFFICE NOT PARTIES

34. Defendant understands that the Court and the United States
Probation and Pretrial Services Office are not parties to this
agreement and need not accept any of the USAO’s sentencing
recommendations or the parties’ agreements to facts or sentencing
factors.

35. Defendant understands that both defendant and the USAO are
free to: (a) supplement the facts by supplying relevant information
to the United States Probation and Pretrial Services Office and the
Court, (b) correct any and all factual misstatements relating to the
Court’s Sentencing Guidelines calculations and determination of
sentence, and (c) argue on appeal and collateral review that the
Court’s Sentencing Guidelines calculations and the sentence it
chooses to impose are not error, although éach party agrees to

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maintain its view that the calculations in paragraph 19 are
consistent with the facts of this case. While this paragraph permits
both the USAO and defendant to submit full and complete factual
information to the United States Probation and Pretrial Services
Office and the Court, even if that factual information may be viewed
as inconsistent with the facts agreed to in this agreement, this
paragraph does not affect defendant’s and the USAO’s obligations not
to contest the facts agreed to in this agreement.

36. Defendant understands that even if the Court ignores any
sentencing recommendation, finds facts or reaches conclusions
different from those agreed to, and/or imposes any sentence up to the
maximum established by statute, defendant cannot, for that reason,
withdraw defendant’s guilty plea, and defendant will remain bound to
fulfill all of defendant’s obligations under this agreement.
Defendant understands that no one -- not the prosecutor, defendant’ s
attorney, or the Court -- can make a binding prediction or promise
regarding the sentence defendant will receive, except that it will be
within the statutory maximum.

NO ADDITIONAL AGREEMENTS

 

37. Defendant understands that, except as set forth herein,
there are no promises, understandings, or agreements between the USAO
and defendant or defendant’s attorney, and that no addi tional
promise, understanding, or agreement may be entered into unless in a
writing signed by ail parties or on the record in court.

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CERTIFICATION OF DEFENDANT’ s ATTORNEY

 

I am AMIR FRIEDMAN’s attorney. I have carefully and thoroughly
discussed every part of this agreement with my client. Further, I
have fully advised my client of his rights, of possible pretrial
motions that might be filed, of possible defenses that might be
asserted either prior to or at trial, of the sentencing factors set
forth in 18 U.§.C.°§ 3553(a), of relevant Sentencing Guidelines
provisions, and of the consequences of entering into this agreement.
To my knowledge: no promises, inducements, or representations of any
kind have been made to my client other than those contained in this
agreement; no one has threatened or forced my client in any way to
enter into this agreement; my client’s decision to enter into this
agreement is an informed and voluntary one; and the factual basis set
forth in this agreement is sufficient to support my client’s entry of

a guilty plea pursuant to this agreement.

 

4/16/14

 

 

 

PAUL S. MEYER SS Date
Attorney for Defendant
AMIR FRIEDMAN

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EXHIBIT A

UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, No. CR
Plaintiff, INFORMATION
Vv. [18 U.S.C. § 371: Conspiracy;
18 U.S.C. §§ 981 (a) (1) (A),
AMIR FRIEDMAN, 981 (a) (1) (C), 982(a) (1),
982.(a) (7) and 28 U.S.C. §
Defendant. 2461 (c): Criminal Forfeiture]

 

 

The United States Attorney charges:

A. GENERAL ALLEGATIONS

 

At times relevant to this Information:

Defendant and Related Entities and Individuals.

1, Pharmacy Owner A, along with other un-indicted
conspirators, owned and operated several compounding pharmacies,
including New Age Pharmaceuticals, Inc. (“New Age”), located in
Beverly Hills, California, within the Central District of
California. New Age was reimbursed by health care benefit
programs for dispensing prescriptions and other pharmaceuticals,

including “custom” over-the-counter drugs, such as Terocin,

 

 
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which was a pain relief product for minor aches and pains of
muscles and joints.

2. Unindicted co-conspirator Marketer A was a marketer,
based in California, who, through Marketing Entity A, was paid
commissions for facilitating the referral of prescriptions for
compounded drugs and other pharmaceuticals, including Terocin.

3. Defendant AMIR FRIEDMAN was an anesthesiologist
licensed in California, who wrote prescriptions for compounded
and over-the-counter drugs for patients. Defendant FRIEDMAN
caused such prescriptions to be routed to New Age for
dispensing, in exchange for kickback and bribe payments from
Marketer A.

State Workers’ Compensation System

 

4, The California Workers’ Compensation System (“CWCS”)
was a system created by California law to provide insurance
covering treatment of injury and illness suffered by individuals
in the course of their employment. Under the CWCS, employers
were required to purchase workers’ compensation insurance
policies from insurance carriers to cover their employees. When
an employee suffered a covered injury or illness and received
medical services, the medical service provider submitted a claim
for payment to the relevant insurance carrier, which then paid
the claim. Claims were submitted to and paid by the insurance
carriers by mail and electronically. The CWCS was governed by
various California laws and regulations.

5. California law, including the California Business and

Professions Code and the California Insurance Code, prohibited

 

 
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the offering, delivering, soliciting, or receiving of anything
of value in return for referring a patient for medical items or
services.

Fiduciary Duties

6. Physicians, among other medical professionals, owed a
fiduciary duty to their patients, requiring these fiduciaries to
act in the best interest of the patients, and not for their own
professional, pecuniary, or personal gain. These fiduciaries
owed a duty of honest services to their patients for decisions
made relating to the medical care and treatment of those
patients, including the recommending and prescribing of
pharmaceuticals to such patients. A patient’s right to honest
services from these fiduciaries included the right not to have
the fiduciaries solicit or accept bribes and kickbacks connected
to the medical care or treatment of such patients/customers.

Health Care Programs

 

7. State workers’ compensation insurance carriers, along
with other public and private plans and contracts that New Age
billed for compounded drug prescription reimbursements, were
“health care benefit programs,” as defined by 18 U.S.C. § 24(b),
that affected commerce (collectively, the “Affected Health Care
Plans”).

Compounded Drugs

8. In general, “compounding” was a practice in which a
licensed pharmacist, a licensed physician, or, in the case of an

outsourcing facility, a person under the supervision of ae

licensed pharmacist, combined, mixed, or altered ingredients of

 

 
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a drug or multiple drugs to create a drug tailored to the needs
of an individual patient. The Food & Drug Administration did
not verify the safety, potency, effectiveness, or manufacturing
quality of compounded drugs, that is, compounded drugs were not
FDA-approved. The California State Board of Pharmacy regulated
the practice of compounding in the State of California.

9. Compounded drugs were prescribed by a physician when
an FDA-approved drug did not meet the health needs of a
particular patient. For example, if a patient were allergic to
a specific ingredient in an FDA-approved medication, such as a
dye or a preservative, a compounded drug would be prepared
excluding the substance that triggered the allergic reaction.
Compounded drugs would also be prescribed when a patient could
not consume a medication by traditional means, such as an
elderly patient or a child who could not swallow an FDA-approved
pill and needed the drug in a liquid form that was not otherwise
available.
B. OBJECTS OF THE CONSPIRACY

10. Beginning by no later than in or about August 2013,
and continuing through at least in or about May 2015, in Los
Angeles County, within the Central District of California, and
elsewhere, defendant; FRIEDMAN, Pharmacy Owner A, and Marketer A,
and others known and unknown to the United States Attorney,
knowingly conspired to commit the following offenses against the
United States:

a. mail fraud, including through the deprivation of

honest services, in violation of Title 18, United States Code,

Sections 1341 and 1346;

 
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bd. wire fraud, including through the deprivation of
honest services, in violation of Title 18, United States Code,
Sections 1343 and 1346; and

Cc. use of the mails and interstate facilities in aid
of bribery, in violation of Title 18, United States Code,

Section 1952(a) (1) and (3).

 

C. MANNER AND MEANS OF THE CONSPIRACY
| 11. The objects of the conspiracy were carried out, and to
be carried out, in substance, as follows:

a. Pharmacy Owner A would pay Marketer A kickbacks
in exchange for arranging for, recommending, .and causing the
referral of, pre-formulated prescriptions for compounded drugs
and other pharmaceuticals (collectively, “Kickback Tainted
Prescriptions”) to New Age.

b. Based on these payments, Marketer A would offer
kickbacks and bribes to defendant FRIEDMAN, who, in response to
the promise of kickbacks and bribes, would refer and cause the
referral of Kickback Tainted Prescriptions to New Age.

Cc. New Age would dispense compounded drugs and other
pharmaceuticals authorized by the Kickback Tainted
Prescriptions, send these items to patient-beneficiaries through
the mail, and submit the corresponding claims for reimbursement
to the Affected Health Care Plans.

d. Based on these reimbursements, New Age would pay
Marketer A, who, in turn, would write checks representing
kickback and bribe payments to defendant FRIEDMAN, who would

continue to authorize Kickback Tainted Prescriptions.

 

 
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D. OVERT ACTS

12. In furtherance of the conspiracy and to accomplish its
objects, on or about the following dates, defendant FRIEDMAN and
other co-conspirators known and unknown to the United States
Attorney, committed and willfully caused others to commit the
following overt acts, among others, within the Central District
of California and elsewhere:

Overt Act No. 1: On or about August 7, 2013, defendant
FRIEDMAN caused Marketer A to issue check number 2032, drawn on
Marketing Entity A’s Bank of America account ending in 0636 (the
“0636 BofA Acct”), in the amount of $22,000, to defendant
FRIEDMAN. |

‘Overt Act No. 2: On or about March 27, 2015, defendant
FRIEDMAN caused Marketer A to issue check number 1110, drawn on

the 0636 BofA Acct, in the amount of $40,000, to defendant

FRIEDMAN.
Overt Act No, 3: On or about May 28, 2015, defendant

FRIEDMAN caused Marketer A to issue check number 1147, drawn on

the 0636 BofA, in the amount of $32,600, to defendant FRIEDMAN.

 

 

 
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FORFEITURE ALLEGATION
[18 U.S.C. S§ 982(a) (7), 981(a) (1) (C) and 28 U.S.C. § 2461 (c)]-

13. Pursuant to Rule 32.2(a), Fed. R. Crim. P., notice is
hereby given to defendant FRIEDMAN that the United States will
seek forfeiture as part of any sentence in accordance with Title
18, United States’ Code, Sections 982 (a) (7) and 981(a) (1) (C) and
Title 28, United States: Code, Section 2461(c), in the event of
defendant FRIEDMAN’s conviction of the offense set forth in this
Information. |

14. Defendant FRIEDMAN so convicted shall forfeit to the
United States of America the following:

(a) all right, title, and interest in any and all
property, real or personal, constituting, or derived from, any
proceeds traceable to the offense; and

(b) To the extent such property is not available for
forfeiture, a sum of money equal to the total value of the
property described in subparagraph (a). -

15. Pursuant to Title 21, United States Code, Section
853(p), as incorporated by Title 28, United States Code, Section
2461 (c), defendant FRIEDMAN so convicted shall forfeit
substitute property, up to the value of the property described
in the preceding paragraph if, as the result of any act or
omission of defendant FRIEDMAN, the property described in the
preceding paragraph or any portion thereof (a) cannot be located
upon the exercise of due diligence; (b) has been transferred,
sold. to, or deposited with a third party; (c) has been placed

beyond the jurisdiction of the court; (d) has been substantially

 

 

 
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diminished in value;

 

 

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(e) has been commingled with other

property that cannot be divided without difficulty.

NICOLA T. HANNA
United States Attorney

BRANDON D. FOX
Assistant United States Attorney
Chief, Criminal Division

RANBE A. KATZENSTEIN:
Assistant United States Attorney
Chief, Major Frauds Section

KRISTEN A. WILLIAMS
Assistant United States Attorney
Deputy Chief, Major Frauds Section

ASHWIN JANAKT RAM
Assistant United States Attorney
Major Frauds Section

 
